Case 2:16-cv-02806-BRO-SK Document 12 Filed 06/22/16 Page 1 of 3 Page ID #:65


  1
      MILSTEIN ADELMAN JACKSON
  2   FAIRCHILD & WADE, LLP
      Gillian L. Wade, Esq. (SBN 229124)
  3   gwade@majfw.com
      10250 Constellation Blvd., Suite 1400
  4   Los Angeles, CA 90067
      Telephone: (310) 396-9600
  5   Facsimile: (310) 396-9635

  6   CARNEY BATES & PULLIAM, PLLC
      Randall K. Pulliam
  7   rpulliam@cbplaw.com
      2800 Cantrell Road, Suite 510
  8   Little Rock, AR 72202
      Telephone: (501) 312-8500
  9   Facsimile: (501) 312-8505

 10   Attorneys for Plaintiff ARCARE, INC.

 11

 12                              UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 13

 14   ARCARE, INC., an Arkansas Corporation
                                              Case No. 2:16-cv-02806-BRO-SK
 15                    Plaintiff,
 16          v.
                                               PLAINTIFF’S NOTICE OF VOLUNTARY
 17   HIGHLANDER PRINTING, LLC,                 DISMISSAL WITHOUT PREJUDICE
      d/b/a HIGHLANDER PRINTING AND              PURSUANT TO FEDERAL RULE OF
 18   IMAGING SUPPLIES, a California               CIVIL PROCEDURE 41(a)(1)
      Limited Liability Company,
 19
                       Defendants.
 20

 21

 22

 23

 24

 25

 26
 27

 28
      NOTICE OF VOLUNTARY DISMISSAL
      Case No. 2:16-cv-02806-BRO-SK
Case 2:16-cv-02806-BRO-SK Document 12 Filed 06/22/16 Page 2 of 3 Page ID #:66



 1          PLEASE TAKE NOTICE that Plaintiff ARcare, Inc., by and through counsel, hereby

 2   dismisses this action without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(i).
 3
     Dated: June 22, 2016                         Respectfully submitted,
 4

 5
                                           By:    /s/ Gillian L. Wade
 6                                                Gillian L. Wade, Esq. (SBN 229124)
                                                  MILSTEIN ADELMAN JACKSON
 7                                                FAIRCHILD & WADE, LLP
                                                  gwade@majfw.com
 8                                                10250 Constellation Blvd., Suite 1400
                                                  Los Angeles, CA 90067
 9                                                Telephone: (310) 396-9600
                                                  Facsimile: (310) 396-9635
10
                                                  -and-
11
                                                  Randall K. Pulliam, Esq.
12                                                CARNEY BATES & PULLIAM, PLLC
                                                  rpulliam@cbplaw.com
13                                                2800 Cantrell Road, Suite 510
                                                  Little Rock, AR 72202
14                                                Telephone: (501) 312-8500
                                                  Facsimile: (501)312-8505
15
                                                  Counsel for Plaintiff ARCARE, INC.
16

17

18
19

20

21

22

23

24

25

26
27

28                                                   1
     NOTICE OF VOLUNTARY DISMISSAL
     Case No. 2:16-cv-02806-BRO-SK
Case 2:16-cv-02806-BRO-SK Document 12 Filed 06/22/16 Page 3 of 3 Page ID #:67



 1                                     CERTIFICATE OF SERVICE
 2          I, Gillian L. Wade, an attorney, certify that on June 22, 2016, I electronically filed the

 3   foregoing with the Clerk of Court using the CM/ECF system, which shall send notification of
 4
     such filing to all counsel of record.
 5
                                                    /s/ Gillian L. Wade
 6                                                 Gillian L. Wade

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28                                                    2
     NOTICE OF VOLUNTARY DISMISSAL
     Case No. 2:16-cv-02806-BRO-SK
